                                    APPENDIX I

                        MASTER MEMORANDUM OF UNDERSTANDING
                                      BETWEEN
                      THE ALASKA DEPARTMENT OF FISH AND GAME
                                  Juneau, Alaska
                                        AND
                        THE U.S. FISH AND WILDLIFE SERVICE
                            DEPARTMENT OF THE INTERIOR
                                 Anchorage, Alaska


This Master Memorandum of Understanding between the State of Alaska,
Department of Fish and Game, hereinafter referred to as the Department, and
the U.S. Fish and Wildlife Service, hereinafter referred to as the Service,
reflects the general policy guidelines within which the two agencies agree to
operate.

WHEREAS, the Department, under the Constitution, laws and regulations of the
State of Alaska (Appendix I), is responsible for the management, protection ,
maintenance, enhancement, rehabilitation, and extension of the fish and
wildlife resources of the State on the sustained yield principle, subject to
preferences among beneficial uses; and

WHEREAS, the Service, by authority of the Constitution, laws of Congress and
regulations of the U.S. Department of Interior (Appendix II) has a mandated
management responsibility for certain species or classes of wildlife and is
responsible for the management of Service lands in Alaska, and the
conservation of fish and wildlife resources on these lands; and

WHEREAS, the Department and the Service share a mutual concern for fish and
wildlife resources and their habitats and both are engaged in £xtensive fish
and wildlife conservation, management, and protection programs and desire to
develop and maintain a cooperative relationship which will be in the best
interests of both parties, the concerned fish and wildlife resources and their
habitats, and produce the greatest public benefit; and

WHEREAS, it has been recognized in the Alaska National Interest Lands
Conservation Act and subsequent implementing Federal regulations that the
resources and use of Service lands in Alaska are substantially different than
those of other states; and

WHEREAS, the Department and the Service recognize the increasing need to
coordinate resource planning and policy development;

NOW, THEREFORE, the parties hereto do hereby agree as follows:

THE DEPARTMENT OF FISH AND GAME AGREES:

1.   To recognize the Service as the agency with the responsibility to manage
     migratory birds, endangered species, and other species mandated by Federal
     law, and on Service lands in Alaska to conserve fish and wildlife and
     their habitats and regulate human use.
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2.   To manage fish and resident wildlife populations in their natural species
     diversity on Service lands.

3.   To consult with the Regional Director in a timely manner and comply with
     applicable Federal laws and regulations before embarking on enhancement or
     construction activities on Service lands.

THE FISH AND WILDLIFE SERVICE AGREES:

1.   To recognize the Department as the agency with the primary responsibility
     to manage fish and resident wildlife within the State of Alaska.

2.   To recognize the right of the Department to enter onto Service lands at
     any time to conduct routine management activities which do not involve
     construction, disturbance to the land, or alterations of ecosystems.

3.   To cooperate with the Department in planning for enhancement or
     development activities on Service lands which require permits,
     environmental assessments, compatibility assessments, or similar
     regulatory documents by responding to the Department in a timely manner
     with requirements, time tables, and any other necessary input.

4.   To manage the fish and wildlife habitat on Service lands so as to insure
     conservation of fish and wildlife populations and their habitats in their
     natural diversity.

5.   To consider carefully the impact of any proposed treaties or international
     agreements relating to fish and wildlife resources on the State of Alaska
     which could diminish the jurisdictional authority of the State and to
     consult freely with the State when these treaties or agreements have a
     primary impact on the State.

6.   To review present U.S. Fish and Wildlife Service policies and any future
     proposed changes in those policies in consultation with the Department to
     determine if modified or special policies are needed for Alaska.

7.   To adopt refuge management plans whose provisions--including provision for
     animal damage control--are in substantial agreement with the Department's
     fish and wildlife management plans, unless such plans are determined
     formally to be incompatible with the purposes for which the respective
     refuges were established.

8.   To utilize the State's regulatory process to maximum extent allowed by
     Federal law in developing new or modifying existing Federal regulations or
     proposing changes in existing State regulations governing or affecting the
     taking of fish and wildlife on Service lands in Alaska.

THE DEPARTMENT OF FISH AND GAME AND THE FISH AND WILDLIFE SERVICE MUTUALLY
AGREE:

1.   To coordinate planning for management of fish and wildlife resources on
     Service lands so that conflicts arising from differing legal mandates,
     objectives, and policies either do not arise or are minimized.

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2.   To consult with each other when developing policy and legislation which
     affects the attainment of wildlife resource management goals and                (
     objectives, or management plans.

3.   To recognize that the taking of fish and wildlife by hunting, trapping, or
     fishing on Service lands in Alaska is authorized in accordance with
     applicable State and Federal law unless State regulations are found to be
     incompatible with documented Refuge goals, objectives, or management plans.

4.   To develop such supplemental memoranda of understanding between the
     Commissioner and the Regional Director as may be required to implement the
     policies contained herein.

S.   That this Master Memorandum of Understanding shall become effective when
     signed by the Commissioner of the Alaska Department of Fish and Game and
     the Alaska Regional Director of the U.S. Fish and Wildlife Service and
     shall continue in force until terminated by either party by providing
     notice in writing 120 days in advance of the intended date of termination.

6.   That amendments to this Master Memorandum of Understanding may be proposed
     by either party and shall become effective upon approval by both parties.


                  STATE OF ALASKA                 U.S. DEPARTMENT OF
                                                     THE INTERIOR
                  Department of-Fish
                       and Game               Fish and Wildlife Service




          Ronald O. Skoog                         Keith M. Schreiner
           Commissioner                        Regional Director, Alaska


           March 13, 1982                          March 13, 1982
                Date                                    Date




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